Case 2:23-cv-07270-JFW-PVC Document 28-1 Filed 09/21/23 Page 1 of 2 Page ID #:738



    1

    2

    3

    4

    5

    6

    7

    8
    9                        UNITED STATES DISTRICT COURT
    10         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    11   PLENTITUDE TRANSPORTATION,            Case No.: 2:23-cv-07270-JFW-PVC
         INC., a California corporation,
    12                                         (Los Angeles County Superior Court
                       Plaintiff,              Case No. 23STCV14127)
    13
              vs.                              Assigned for all purposes to:
    14                                         Hon. John F. Walter
         CARRIER411 SERVICES, INC., a
    15   Florida corporation; and DOES 10,     [PROPOSED] ORDER RE JOINT
         inclusive,                            NOTICE OF SETTLEMENT AND
    16                                         REQUEST FOR ORDER SETTING
                       Defendants.             OUT CASE DEADLINES FOR 30-
    17                                         DAYS
    18
                                               Complaint Filed: June 16, 2023
    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                             -1-
                                     [PROPOSED] ORDER
Case 2:23-cv-07270-JFW-PVC Document 28-1 Filed 09/21/23 Page 2 of 2 Page ID #:739



    1                                           ORDER
    2          After full consideration of the Plaintiff Plentitude Transportation, Inc.
    3    (“Plaintiff”) and Defendant Carrier411 Services, Inc.’s (“Defendant”) (Plaintiff and
    4    Defendant collectively, the “Parties”) Joint Notice of Settlement, and Joint Request
    5    for Order Setting Out Case Deadlines, the Court finds good cause to set out the case
    6    deadlines as follows:
    7       1. The Parties’ deadline to file meet and confer declarations relating to
    8          Defendant’s Motion to Dismiss, as required by the Court’s September 14, 2023
    9          order (ECF No. 18), be continued from September 21, 2023 to October 23,
    10         2023;
    11      2. Defendant’s deadline to re-file its Motion to Dismiss (3 days after the Parties
    12         file meet and confer declarations), as required by the Court’s September 14,
    13         2023 order (ECF No. 18), be continued from September 25, 2023 to October
    14         25, 2023;
    15      3. Plaintiff’s deadline to file a Motion to Remand this case back to the Los
    16         Angeles Superior Court be continued from October 2, 2023 to November 2,
    17         2023;
    18      4. The Rule 16 Scheduling Conference set for October 16, 2023 at 1:15 p.m.
    19         (ECF No. 8) be continued to November 16, 2023 at 1:15 p.m., or a date
    20         thereafter amenable to the Court; and
    21      5. The Parties’ deadline to file their Rule 26 Joint Report in advance of the Rule
    22         16 Scheduling Conference be continued from September 22, 2023 (ECF No. 8)
    23         to October 23, 2023.
    24

    25   DATED this ____ day of ______________, 20__.
    26

    27
                                                        Honorable John F. Walter
    28
                                                  -2-
                                        [PROPOSED] ORDER
